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                                    DAVIDOFF HLJTCHER & CITRON LLP
                                                    ATTO RNEYS AT LAW
                                                    605 THIRD AV ENUE
             Hon. J. Paul Oetken               NEW YORK , NEW YO R K I O I 58
             United States District Judge           ITL: ( 2 I 2 ) 557- 72 0 0
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   WH ITT: PLAINS
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                                                                     September 17, 2021
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           VIA EMAIL
           The Honorable J. Paul Oetken
           United States District Judge
           Southern District of New York
           Thurgood Marshall U.S. Courthouse
           40 Foley Square
           New York, New York 10007

                      Re:       In re Search Warrants Executed on April 28, 2021, 21-MC-425 (JPO)

           Dear Judge Oetken:

                      I write on behalf of Rudolph Giuliani, to inform the Court, that we have no

           objection to the unsealing of our prior letters dated August 27 and September 10,

           2021. Those letters were only requested to be filed under seal because it was a

           Grandy Jury matter. We see no need for any redactions to our letters.

                                                                     Respectfully submitted,

                                                                     DAVIDOFF HUTCHER & CITRON LLP

                                                                     /s/ Robert J. Costello
                                                                     Robert J. Costello (RC-8301)
                                                                     Counsel for Rudolph Giuliani
                                                                     605 Third Avenue
                                                                     New York , New York 10158


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DAVIDOFF HUTCHER & CITRON LLP
Hon. J. Paul Oetken
United States District Judge
September 10, 2021
Page 2

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                                             Michael Jaccarino
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cc: AUSA Rebekah Doneleski
    AUSA Nicolas Roos
    AUSA Aline Flodr

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